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                                   DISTRICT OF NEVADA                       !2il -J'
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    LJNITED STATES OF AMEPJCA,                                                                         ','

                  Plaintiff,                            02:07-CR-0O080-CRW -PAL

    V.
                                                              ORDER
    M ICHAEL JENKW S,

                 Defendant.

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                 Thecourtgrantstheparties'Iirstrequestfora continmanceoftheJuly 31,2012
    hearing.

                 On orbetbreJbme 18,thepartiesshallfilestatem entsot-whatdatesafterAugust
    14,2012 theyareavailable fora reschedutedhearing.
                 IT IS SO ORDERED.
                 Dated this l2Th dayofJune,2012.




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